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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA

                             CIVIL ACTION NO. 21-60217-CIV-AHS

   LISA BATISTA, on behalf of herself and
   others similarly situated,

          Plaintiff,

   v.

   CRISP MARKETING, LLC, a Florida
   limited liability company, and
   MOBILEHELP, LLC, a Delaware limited
   liability company,

          Defendants.


          DEFENDANTS CRISP MARKETING, LLC AND MOBILEHELP, LLC’S
                         JOINT NOTICE OF APPEAL

         Defendants Crisp Marketing, LLC and MobileHelp, LLC (“Defendants”) respectfully file

  their notice of appeal to the United States Court of Appeals for the Eleventh Circuit of this Court’s

  June 22, 2021 Order on Sealed Joint Motion to Compel Arbitration denying Defendants’ Joint

  Motion to Compel Arbitration. (Dkt. No. 33).

         This Court’s determination is immediately appealable pursuant to 9 U.S.C. § 16(a)(C).

                                                                Respectfully submitted,

                                                     /s/ Artin Betpera
                                                     Artin Betpera (FL Bar. No. 49535)
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                                                     Attorney for Defendant Crisp Marketing, LLC
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                                        /s/ Michael Peter De Simone
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                                        Attorney for Defendant MobileHelp, LLC
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                               CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on July 1, 2021, I served the foregoing DEFENDANTS

   CRISP MARKETING, LLC AND MOBILEHELP, LLC’S JOINT NOTICE OF APPEAL

   on all counsel of record via CM/ECF.



                                          /s/ Artin Betpera
                                          Artin Betpera
                                          (Florida Bar No. 49535)
